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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION
                                                *
TIMOTHY CLARIDY,                                *          Crim. No. RDB-07-0244
              Petitioner,                       *          Civil No. RDB-20-0501
       v.                                       *
                                                *
UNITED STATES OF AMERICA,                       *
              Respondent.                       *
                                                *
                                           * * * * *
   SUPPLEMENTAL MOTION TO VACATE JUDGMENT UNDER 28 U.S.C. § 2255
                  AND HOLD CASE IN ABEYANCE

       Mr. Timothy Claridy, through undersigned counsel, hereby files this supplement to his

pending 28 U.S.C. § 2255 motion (ECF No. 125). Specifically, he requests that this Court vacate

his conviction under 28 U.S.C. § 2255 because his conviction was predicated on impermissible

government conduct, particularly the lies of Officer Keith Allen Gladstone of the Baltimore City

Police Department (BPD), resulting in a due process violation. These lies have now become

evident through Officer Gladstone’s federal indictment and conviction for fraudulent conduct in

Case No. CCB-19-0094.

       However, Mr. Claridy asks this Court to hold this case in abeyance for one year to permit

him to supplement his § 2255 motion and negotiate a resolution with the government. The

government, through Assistant United States Attorney Robert Harding, does not oppose the

abeyance request. Mr. Claridy states the following in support of this motion:


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       1.      On July 2, 2008, a jury convicted Mr. Claridy of one count of conspiracy to

distribute heroin in violation of 21 U.S.C. § 846, one count of possession with intent to distribute

heroin in violation of 21 U.S.C. § 841, and one count of possession of a firearm by a convicted

felon in violation of 18 U.S.C. § 922(g)(1). On September 24, 2008, Mr. Claridy was sentenced

to a total term of 240-months imprisonment.

       2.      However, the conviction was predicated on the material lies of Officer Gladstone—

who was the affiant of the search warrant that led to all seized evidence in the case.      Officer

Gladstone was the central witness at Mr. Claridy’s trial and hearing on his motion to suppress

evidence and statements based on the violation of the Fourth and Fifth Amendments.

       3.      Nonetheless, it was not until March 6, 2019—long after Mr. Claridy’s conviction—

that credible evidence of Officer Gladstone’s propensity to lie in criminal cases materialized. On

that date, the government unsealed a federal indictment against Officer Gladstone that charged

him with the following: one count of conspiring to deprive a victim of his civil rights by planting

evidence against him and then lying about it in a statement of probable cause in violation of 18

U.S.C. § 241 (Count One); one count of conspiring to commit an offense against the United States

by lying in the statement of probable cause in violation of 18 U.S.C. § 371 (Count Two); and one

count of witness tampering by instructing another law enforcement officer to lie about the planting

of evidence in violation of 18 U.S.C. § 1512 (Count Three). ECF No. 1, Case No. CCB-19-0094.

On May 31, 2019, Officer Gladstone admitted to these lies and pled guilty to Count One. ECF

Nos. 18 and 19, Case No. CCB-19-0094.

       4.      Officer Gladstone’s indictment and conviction are new evidence that now shatters

his credibility and confirms that he also lied in Mr. Claridy’s case.         This “impermissible

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government conduct” materially impacted the outcome in Mr. Claridy’s case and violated his due

process rights. United States v. Fisher, 711 F.3d 460, 467 (4th Cir. 2013). Therefore, the Fourth

Circuit’s decision in Fisher compels the vacatur of his conviction.

       5.      The government, through Assistant United States Attorney Robert Harding, agrees

that this motion is timely filed under 28 U.S.C. § 2255(f)(4). The government also agrees that this

motion sufficiently pleads Mr. Claridy’s Fisher claim and that Mr. Claridy has one year from

today’s date to supplement the motion. In the meantime, the Office of the Federal Public Defender

will work with the government on a resolution of this matter.

       WHEREFORE, Mr. Claridy respectfully asks this Court to vacate his conviction, but

before ruling on this motion, he asks the Court to hold this case in abeyance for one year from the

date of this filing to give him time to supplement the motion and negotiate a resolution with the

government.

                                      Respectfully submitted,



                                      JAMES WYDA
                                      Federal Public Defender

                                      _____________/s/______________________
                                      PARESH S. PATEL
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 3rd day of March 2020, a copy of the foregoing

Supplemental Motion to Vacate Judgment Under 28 U.S.C. §2255 was delivered via electronic

filing to Robert Harding, Assistant United States Attorney, Office of the United States Attorney,

36 South Charles Street, 4th Floor, Baltimore, Maryland 21201-2692.




                                     _____________/s/_______________________
                                     PARESH S. PATEL
                                     Assistant Federal Public Defender




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